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April 26, 2022

Honorable Nicholas G. Garaufis, U.S.D.J.
United States District Judge

Eastern District of New York

U.S. Courthouse

225 Cadman Plaza East

Brooklyn, New York 11201

RE: LoCurto v. United States
Civ. No. 10-4589 (NGG)(RLM)

Dear Judge Garaufis:

The BOP has transferred Mr. LoCurto to MDC Los Angeles for the purpose of
conducting the evaluation ordered by your honor on March 3, 2022. I have
received notification from the BOP that the evaluation has commenced.

Mr. LoCurto has been communicating with me by text message and he has made
several requests for documents. On April 14, 2022, I mailed legal correspondence
to Mr. LoCurto, properly addressed to him at MDC Los Angeles. The postal
service indicates that the BOP picked up the letter, under tracking number
9505514194032104464450, from the post office on April 18, 2022 at 9:13 am. Mr.
LoCurto indicated to me tonight that he stil! has not received this letter.

I write to report this fact to you. I plan to place a second letter containing legal
correspondence in the mail to him tomorrow. I need not impress upon you the
importance of Mr. LoCurto being able to timely receive correspondence from his
lawyer. Please take steps to order the BOP and the government to find and deliver
the correspondence I mailed to him on April 14 and to cease and desist from

delaying or interfering with the timely delivery of my correspondence to him in the
future.

The Catholic University in New Jersey - founded in 1856
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